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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                  CRIMINAL NO. 1:17CR32-33
                                                 (Judge Keeley)

  BOBBIE JO PHILLIPS,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 458),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On September 7, 2017, the defendant, Bobbie Jo Phillips

  (“Phillips”),     appeared    before   United   States   Magistrate   Judge

  Michael J. Aloi and moved for permission to enter a plea of GUILTY

  to Count Ninety-three of the Indictment. Phillips stated that she

  understood that the magistrate judge is not a United States

  district judge, and consented to pleading before the magistrate

  judge.     This Court had referred the guilty plea to the magistrate

  judge for the purposes of administering the allocution pursuant to

  Federal Rule of Criminal Procedure 11, making a finding as to

  whether    the   plea   was   knowingly   and   voluntarily   entered,   and

  recommending to this Court whether the plea should be accepted.

        Based upon Phillips’s statements during the plea hearing and

  the testimony of Mark Trump, Officer with the Morgantown Police

  Department, the magistrate judge found that Phillips was competent

  to enter a plea, that the plea was freely and voluntarily given,
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       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
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  that she was aware of the nature of the charges against her and the

  consequences of her plea, and that a factual basis existed for the

  tendered plea. On September 7, 2017, the magistrate judge entered

  an Report and Recommendation Concerning Plea of Guilty in Felony

  Case (“R&R”) (dkt. no. 458) finding a factual basis for the plea

  and recommended that this Court accept Phillips’s plea of guilty to

  Count Ninety-three of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Phillips’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count Ninety-three of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 458),
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

         1.   The Probation Officer shall undertake a presentence

  investigation of Phillips, and prepare a presentence report for the

  Court;

         2.   The Government and Phillips shall provide their versions

  of the offense to the probation officer by September 28, 2017;

         3.   The presentence report shall be disclosed to Phillips,

  defense counsel, and the United States on or before November 28,

  2017;    however,   the   Probation   Officer   shall   not   disclose   any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

         4.   Counsel may file written objections to the presentence

  report on or before December 12, 2017;

         5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before December 19, 2017;

  and

         6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




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        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 458),
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

  factual basis from the statements or motions, on or before December

  19, 2017.

        The magistrate judge continued Phillips on bond pursuant to

  the Order Setting Conditions of Release (dkt. no. 22) entered on

  June 8, 2017.

        The   Court   will    conduct    the   sentencing   hearing      for   the

  defendant    on   Monday,    January    8,   2018   at   9:30   A.M.   at    the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: September 21, 2017


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




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